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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                 04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Washington Prime Group Inc.


                                                 SPG SpinCo Subsidiary Inc.; WP Glimcher Inc.; Glimcher; WP Glimcher
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          180 East Broad Street
                                          Number           Street                                     Number         Street


                                                                                                      P.O. Box
                                          Columbus                        Ohio       43215
                                          City                            State     Zip Code          City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Franklin
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://www.washingtonprime.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            Washington Prime Group Inc.                                     Case number (if known)
           Name



7.   Describe debtor’s business
                                         A. Check One:
                                         ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☒ None of the above

                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5313 (Activities Related to Real Estate)

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

      A debtor who is a “small           ☒ Chapter 11. Check all that apply:
      business    debtor”   must
                                                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      check the first sub-box. A                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      debtor as defined in §                                   affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      1182(1) who elects to                                    balance sheet, statement of operations, cash-flow statement, and federal income tax
      proceed under subchapter                                 return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      V of chapter 11 (whether or                              1116(1)(B).
      not the debtor is a “small
                                                             ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      business debtor”) must
                                                               liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
      check the second sub-box.                                and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                               selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                               statement, and federal income tax return or if any of these documents do not exist,
                                                               follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             ☐ A plan is being filed with this petition.

                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                               Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                         ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No
   filed by or against the debtor     ☐ Yes.      District                           When                       Case number
   within the last 8 years?                                                                   MM/DD/YYYY
     If more than 2 cases, attach a               District                           When                       Case number
     separate list.                                                                           MM/DD/YYYY




     Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 2
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    Debtor           Washington Prime Group Inc.                                          Case number (if known)
              Name



    10. Are any bankruptcy cases            ☐ No
        pending or being filed by a         ☒ Yes.                                                                      Relationship     Affiliate
                                                         Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                         District     Southern District of Texas
       List all cases. If more than 1,                                                                                  When             06/13/2021
       attach a separate list.                         Case number, if known _______________________                                     MM/DD/YYYY

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                            (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                            other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                            Number         Street



                                                                                            City                                State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.         Insurance agency

                                                                    Contact name
                                                                    Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
        creditors1                        ☐     50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
                                          ☐     100-199                      ☒       10,001-25,000                  ☐     More than 100,000
                                          ☐     200-999




1      The Debtors’ estimated number of creditors noted here are provided on a consolidated basis.
       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Washington Prime Group Inc.                                        Case number (if known)
          Name



15. Estimated assets                ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                    ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐   More than $50 billion

16. Estimated liabilities           ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                    ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐   More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         06/13/2021
                                                             MM/DD/YYYY


                                             /s/ Mark E. Yale                                                   Mark E. Yale
                                             Signature of authorized representative of debtor                Printed name

                                             Title   Executive Vice President and Chief
                                                     Financial Officer




18. Signature of attorney                    /s/ Matthew D. Cavenaugh                                       Date       06/13/2021
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Matthew D. Cavenaugh
                                             Printed name
                                             Jackson Walker LLP
                                             Firm name
                                             1401 McKinney St., Suite 1900
                                             Number                 Street
                                             Houston                                                                Texas            77010
                                             City                                                                   State              ZIP Code
                                             (713) 752-4200                                                         mcavenaugh@jw.com
                                             Contact phone                                                             Email address
                                             24062656                                             Texas
                                             Bar number                                             State




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 Fill in this information to identify the case:
                                                                             ,
 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                                            ☐ Check if this is an
 Case number (if known):                                Chapter    11                                         amended filing


                                                                  RIDER 1

                            List of the Debtor’s and its Affiliates’ Pending Bankruptcy Cases

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases for procedural purposes under the case
number assigned to the chapter 11 case of Washington Prime Group Inc.

   Washington Prime Group Inc.                                          Melbourne Square, LLC
   Washington Prime Group, L.P.                                         MFC Beavercreek, LLC
   Bloomingdale Court, LLC                                              Morgantown Mall LLC
   Bowie Mall Company, LLC                                              MSA/PSI Altamonte Limited Partnership
   Boynton Beach Mall, LLC                                              MSA/PSI Ocala Limited Partnership
   C.C. Altamonte Joint Venture                                         Northwoods Ravine, LLC
   C.C. Ocala Joint Venture                                             Northwoods Shopping Center, LLC
   C.C. Westland Joint Venture                                          Orange Park Mall, LLC
   Chautauqua Mall, LLC                                                 Paddock Mall, LLC
   Chesapeake Center, LLC                                               Plaza at Buckland Hills, LLC
   Chesapeake Theater, LLC                                              Plaza at Countryside, LLC
   Clay Terrace Partners, LLC                                           Plaza at Northwood, LLC
   Coral Springs Joint Venture                                          Plaza at Tippecanoe, LLC
   CT Partners, LLC                                                     Richardson Square, LLC
   Dare Center, LLC                                                     Rockaway Town Court, LLC
   Dayton Mall III LLC                                                  Rockaway Town Plaza, LLC
   Downeast LLC                                                         Rolling Oaks Mall, LLC
   Edison Mall, LLC                                                     Royal Eagle Plaza LLC
   Empire East, LLC                                                     Royal Eagle Plaza II LLC
   Fairfax Court Center LLC                                             Shops at Northeast Mall, LLC
   Fairfield Town Center, LLC                                           Simon MV, LLC
   Fairfield Village, LLC                                               SM Mesa Mall, LLC
   Gaitway Plaza, LLC                                                   Southern Hills Mall LLC
   Greenwood Plus Center, LLC                                           Southern Park Mall, LLC
   Jefferson Valley Center LLC                                          St. Charles Towne Plaza, LLC
   Keystone Shoppes, LLC                                                Sunland Park Mall, LLC
   KI-Henderson Square Associates, L.P.                                 The Outlet Collection LLC
   KI-Henderson Square Associates, LLC                                  Town Center at Aurora II LLC
   KI-Whitemak Associates, LLC                                          University Park Mall CC, LLC
   Lakeview Plaza (Orland), LLC                                         University Town Plaza, LLC
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Lima Center, LLC                           Village Park Plaza, LLC
Lincoln Crossing, LLC                      Villages at MacGregor, LLC
Lindale Mall, LLC                          Washington Plaza, LLC
Mall at Cottonwood II LLC                  Washington Prime Management Associates, LLC
Mall at Great Lakes, LLC                   Washington Prime Property Limited Partnership
Mall at Irving, LLC                        West Town Corners, LLC
Mall at Jefferson Valley, LLC              Westshore Plaza II LLC
Mall at Lake Plaza, LLC                    Whitemak Associates
Mall at Lima, LLC                          WPG Management Associates, Inc.
Mall at Longview, LLC                      WPG Northtown Venture LLC
Maplewood Mall, LLC                        WPG Rockaway Commons, LLC
Markland Fee Owner LLC                     WPG Westshore, LLC
Markland Mall, LLC                         WPG Wolf Ranch, LLC
Markland Plaza, LLC                        WTM Stockton, LLC
Martinsville Plaza, LLC




 Rider 1                                                                                   Page 2
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Official Form 201A (12/15)

                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION

                                                                               )
    In re:                                                                     )    Chapter 11
                                                                               )
    WASHINGTON PRIME GROUP INC.,                                               )    Case No. 21-[         ]( )
                                                                               )
                                                                               )
                                    Debtor.                                    )
                                                                               )
                                ATTACHMENT TO VOLUNTARY PETITION FOR
                       NON-INDIVIDUALS FILING FOR BANKRUPTCY UNDER CHAPTER 11

        1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
    number is   CIK #0001594686

        2. The following financial data is the latest available information and refers to the debtor’s condition on
    March 31, 2021

         (a)   Total assets                                               $   4,028,916,000
         (b)   Total debts (including debts listed in 2.c., below)        $   3,470,908,000
         (c)   Debt securities held by more than 500 holders                  N/A
                                                                                                             Approximate
                                                                                                             number of
                                                                                                             holders:
         secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
         secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
         secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
         secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
         secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment


         (d)   Number of shares of preferred stock                                                           7,800,0001
         (e)   Number of shares of common stock                                                              24,459,7012
         Comments, if any:     Washington Prime Group Inc. does not and cannot know the precise number of
    beneficial holders of any of the debt securities it has issued. Nevertheless, Washington Prime Group Inc. does not
    believe that more than 500 holders hold any such securities.

        3. Brief description of debtor’s business: Washington Prime Group Inc. is a fully integrated, self-administered,
    and self-managed real estate investment trust under the Internal Revenue Code and is a recognized leader in the
    ownership, management, acquisition, and development of retail properties around the U.S.

         4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
    voting securities of debtor:
    The Vanguard Group, Inc. (10.32%); BlackRock Institutional Trust Company, N.A. (10.32%); Charles Schwab Investment
    Management, Inc. (5.09%)




1
       This number represents (a) 3,800,000 shares of 6.875% Series I Cumulative Redeemable Preferred Stock as of June 13, 2021,
       that was issued by Washington Prime Group Inc. and (b) 4,000,000 shares of 7.500% Series H Cumulative Redeemable
       Preferred Stock as of June 13, 2021, that was issued by Washington Prime Group Inc.
2
       There were 350,000,000 shares authorized and 24,459,701 issued and outstanding as of May 7, 2021.
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                                         UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                                 HOUSTON DIVISION

                                                                      )
    In re:                                                            )     Chapter 11
                                                                      )
    WASHINGTON PRIME GROUP INC.,                                      )     Case No. 21-[          ]( )
                                                                      )
                                  Debtor.                             )
                                                                      )

                                          LIST OF EQUITY SECURITY HOLDERS1

                                                                                                                 Percentage
                         Equity Holders                              Address of Equity Holder
                                                                                                                    Held
                                                                     100 Vanguard Boulevard
         The Vanguard Group, Inc.                                                                                  10.32%
                                                                        Malvern, PA 19355
         BlackRock Institutional Trust Company,                         55 East 52nd Street
                                                                                                                   10.32%
         N.A.                                                          New York, NY 10055
         Charles Schwab Investment                                         211 Main Street
                                                                                                                    5.09%
         Management, Inc.                                           San Francisco, CA 94105
                                                                     452 5th Avenue, Suite 28
         Tilden Park Capital Management LP                                                                          3.15%
                                                                       New York, NY 10018
                                                                 15635 Alton Parkway, Suite 400
         Private Management Group, Inc.                                                                             2.79%
                                                                          Irvine, CA 92618
                                                                  Bankplassen 2, P.O. Box 1179
         Norges Bank Investment Management
                                                                        Sentrum NO-0107,                            2.68%
         (NBIM)
                                                                            Oslo, Norway
                                                                 200 Clarendon Street, 30th Floor
         Arrowstreet Capital, Limited Partnership                                                                   1.80%
                                                                         Boston, MA 02116
                                                                   State Street Financial Center
         State Street Global Advisors (US)                               One Lincoln Street                         1.55%
                                                                         Boston, MA 02116
                                                                      666 5th Avenue, Suite 8
         Millennium Management LLC                                                                                  1.39%
                                                                       New York, NY 10103
                                                                         One Boston Pace,
         Mellon Investments Corporation                               201 Washington Street                         1.31%
                                                                         Boston, MA 02108
                                                                  100 Summer Street, 12th Floor
         Geode Capital Management, L.L.C.                                                                           1.27%
                                                                         Boston, MA 02110
                                                                          5 Stratton Street
         GSA Capital Partners LLP                                                                                   1.22%
                                                                    London, England W1J 8LA
                                                                       6300 FM 2244 Road
         Dimensional Fund Advisors, L.P.                                      Building 1                            1.12%
                                                                       Austin, Texas 78746


1      This list serves as the disclosure required to be made pursuant to rule 1007 of the Federal Rules of Bankruptcy Procedure. All
       equity positions listed indicate the record holder of such equity as of January 13, 2021. Pursuant to the Debtors’ Emergency
       Motion for Entry of an Order (I) Authorizing the Debtors to (a) File a Consolidated List of Creditors, (b) File a Consolidated List
       of the 30 Largest Unsecured Creditors, and (c) Redact Certain Personally Identifiable Information, (II) Waiving the Requirement
       to File a List of Equity Security Holders, (III) Approving the Form and Manner of Notifying Creditors of the Commencement of the
       Chapter 11 Cases and Other Information, and (IV) Granting Related Relief, filed contemporaneously herewith, the Debtors (as
       defined therein) are seeking relief to file a list of only holders with a 1 percent or more interest in the applicable Debtor.
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                               UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 WASHINGTON PRIME GROUP INC.,                         )    Case No. 21-[     ]( )
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                       Shareholder                            Approximate Percentage of Shares Held
 The Vanguard Group, Inc.                                                     10.32%
 BlackRock Institutional Trust Company, N.A.                                  10.32%
                                                                                             Case 21-31948 Document 1 Filed in TXSB on 06/13/21 Page 10 of 46




     Fill in this information to identify the case:
     Debtor name: Washington Prime Group Inc. et al
     United States Bankruptcy Court for the: Southern District of Texas Houston Division
                                                                                                                                                                                             
     Case number (If known): ___________                                                                                                                                                           Check if this is an
                                                                                                                                                                                                  amended filing


     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders


     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. §
     101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.



                                                                                                                                                                                                                     Amount of unsecured claim
                                                                                                                                                                                                    if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                                                                       amount. If claim is partially secured, fill in total claim
                                                                                                                                                                                                    amount and deduction for value of collateral or setoff to
                                                                                                                                    Nature of the claim (for
                                                                                                                                                                        Indicate if claim is                          calculate unsecured claim.
      Name of creditor and complete mailing address, including            Name, telephone number, and email address of creditor   example, trade debts, bank
                                                                                                                                                                   contingent, unliquidated, or
                             zip code                                                          contact                            loans, professional services,
                                                                                                                                                                             disputed
                                                                                                                                   and government contracts)
                                                                                                                                                                                                                           Deduction for
                                                                                                                                                                                                     Total claim, if
                                                                                                                                                                                                                         value of collateral   Unsecured Claim
                                                                                                                                                                                                   partially secured
                                                                                                                                                                                                                             or setoff

   U.S. Bank National Association
                                                                        Ryan Awes
   c/o U.S. Bank Global Corporate Trust
                                                                        Trust Officer
   West Side Flats
 1                                                                      EMAIL - ryan.awes@usbank.com                                2024 Senior Notes Payable                                                                                  $      720,400,000
   60 Livingston Avenue
                                                                        PHONE - (651) 466-6094
   St. Paul, MN 55107 | EP-MN-WS3T
                                                                        FAX - (651) 312-2599
   United States
     Bank of America, N.A.
     Mail Code: NC1-026-06-04
     900 W Trade Street
     Charlotte, NC 28255-0001                                           David Tischler
     United States                                                      Liliana Claar                                             Unsecured Portion of Amended
 2                                                                      EMAIL - david.tischler@bofa.com; liliana.claar@bofa.com    and Restated Revolving Credit                                                                               $      161,750,000
     Bank of America, N.A.                                              PHONE - (704) 625-4512; (415) 503-5003                              Agreement
     Mail Code: CA5-705-04-09                                           FAX -
     555 California Street
     San Francisco, CA 94104
     United States
     Bank of America, N.A.
     Mail Code: NC1-026-06-04
     900 W Trade Street
     Charlotte, NC 28255-0001                                           David Tischler
     United States                                                      Liliana Claar
                                                                                                                                  Unsecured Portion of Term Loan
 3                                                                      EMAIL - david.tischler@bofa.com; liliana.claar@bofa.com                                                                                                                $        87,500,000
                                                                                                                                       due December 2022
     Bank of America, N.A.                                              PHONE - (704) 625-4512; (415) 503-5003
     Mail Code: CA5-705-04-09                                           FAX -
     555 California Street
     San Francisco, CA 94104
     United States
   GLAS USA LLC                                                         Lisha John
   3 Second Street
                                                                                                                                  Unsecured Portion of Term Loan
 4 Suite 206                                                            EMAIL - lisha.john@glas.agency.com                                                                                                                                     $        85,000,000
                                                                                                                                        due January 2023
   Jersey City, NJ 07311                                                PHONE - (201) 839-2181
   United States                                                        FAX -
                                                                        John Russell
   W.E. O'Neil Construction Company
                                                                        President
   1245 W. Washington
 5                                                                      EMAIL - jrussell59@gmail.com                                      Trade Payable                                                                                        $           631,199
   Chicago, IL 60607
                                                                        PHONE - (773) 686-4841
   United States
                                                                        FAX - (773) 584-0866
                                                                        Lori Gillett
   Corna Kokosing Construction Company
                                                                        Chief Executive Officer
   6235 Westerville Road
 6                                                                      EMAIL - lgillett@bbfinc.com                                       Trade Payable                                                                                        $           432,396
   Westerville, OH 43081
                                                                        PHONE - (614) 653-1367
   United States
                                                                        FAX -
   Nationwide Janitorial Services                                       Janette Pai Kim
   4600 Duke Street                                                     President and Chief Executive Officer
 7 Suite 430                                                            EMAIL - janette.njsi@gmail.com                                    Trade Payable                                                                                        $           320,062
   Alexandria, VA 22304                                                 PHONE - (301) 251-8980
   United States                                                        FAX - (703) 370-1100
                                                                        Sam Alley
   VCC LLC
                                                                        Chairman and Chief Executive Officer
   1 Information Way Ste 300
 8                                                                      EMAIL - salley@vccusa.com                                         Trade Payable                                                                                        $           319,034
   Little Rock, AR 72202
                                                                        PHONE - (501) 376-0017
   United States
                                                                        FAX -
   Construction 1 Inc.                                                  William Moberger
   101 E. Town Street                                                   Owner
 9 Suite 401                                                            EMAIL - swmhoss@aol.com                                           Trade Payable                                                                                        $           315,702
   Columbus, OH 43215                                                   PHONE - (614) 235-0057
   United States                                                        FAX - (614) 237-6769




Official Form 204                                                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                                                    Page 1
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Debtor: Washington Prime Group Inc. et al.                                                                                                                            Case number (if known)_____________________________________




                                                                                                                                                                                                          Amount of unsecured claim
                                                                                                                                                                                         if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                                                            amount. If claim is partially secured, fill in total claim
                                                                                                                                                                                         amount and deduction for value of collateral or setoff to
                                                                                                                            Nature of the claim (for
                                                                                                                                                               Indicate if claim is                        calculate unsecured claim.
      Name of creditor and complete mailing address, including    Name, telephone number, and email address of creditor   example, trade debts, bank
                                                                                                                                                          contingent, unliquidated, or
                             zip code                                                  contact                            loans, professional services,
                                                                                                                                                                    disputed
                                                                                                                           and government contracts)
                                                                                                                                                                                                               Deduction for
                                                                                                                                                                                           Total claim, if
                                                                                                                                                                                                             value of collateral    Unsecured Claim
                                                                                                                                                                                         partially secured
                                                                                                                                                                                                                 or setoff

    Allied Universal Security                                    Steve Jones
    161 Washington Street                                        Chief Executive Officer
 10 Suite 600                                                    EMAIL - steve.jones@aus.com                                     Trade Payable                                                                                     $            294,087
    Conshohocken, PA 19428                                       PHONE - (484) 351-1300
    United States                                                FAX -
                                                                 John Brauch
    Interstate Cleaning Corporation
                                                                 President
    1566 North Warson Rd
 11                                                              EMAIL - jbrauch@safecleaning.net                                Trade Payable                                                                                     $            280,563
    St Louis, MO 63132
                                                                 PHONE - (314) 963-1447
    United States
                                                                 FAX -
                                                                 Chris Johnson
    EDC
                                                                 President
    1660 Huguenot Rd
 12                                                              EMAIL - cjohnson@edcweb.com                                     Trade Payable                                                                                     $            276,580
    Midlothian, VA 23113
                                                                 PHONE - (804) 897-1977
    United States
                                                                 FAX - (804) 897-0901
                                                                 Joel Stensby
    Bergman KPRS LLC
                                                                 Partner
    2850 Saturn Street Ste 100
 13                                                              EMAIL - jstensby@att.com                                        Trade Payable                                                                                     $            233,116
    Brea, CA 92821
                                                                 PHONE - (714) 672-0800
    United States
                                                                 FAX -
                                                                 Rich Kerschen
    Law Company Inc.
                                                                 President
    345 Riverview
 14                                                              EMAIL - kerschen@law-co.com                                     Trade Payable                                                                                     $            232,651
    Wichita, KS 67203
                                                                 PHONE - (316) 268-0230
    United States
                                                                 FAX - (316) 268-0226
    Parking Lot Services LLC                                     Andrew Muller
    42 Maple Terrace                                             Owner
 15 PO Box 220                                                   EMAIL - cortney@parkinglotservices.net                          Trade Payable                                                                                     $            228,365
    Hibernia, NJ 07842                                           PHONE - (973) 586-1111
    United States                                                FAX - (973) 586-1112
                                                                 Chad Edmundson
    The Finish Line Inc.
                                                                 Senior Vice President
    3308 N Mitthoeffer Road
 16                                                              EMAIL - cedmundson@finishline.com                               Trade Payable                                                                                     $            212,905
    Indianapolis, IN 46235-2332
                                                                 PHONE - (317) 899-1022
    United States
                                                                 FAX -
    Thermodynamics Corp.                                         Ryan McCormick
    8 John Walsh Boulevard                                       President
 17 Suite 401                                                    EMAIL - ryanm@thermodynamicscorp.com                            Trade Payable                                                                                     $            208,839
    Peeskill, NY 10566                                           PHONE - (914) 930-8430
    United States                                                FAX -
                                                                 Rob Bontempo
    Annapolis Painting Service
                                                                 Owner
    2561 Housley Road
 18                                                              EMAIL - rbontempo@annapolispainting.com                         Trade Payable                                                                                     $            206,494
    Annapolis, MD 21401
                                                                 PHONE - (410) 224-9722
    United States
                                                                 FAX -
                                                                 Patrick Ghilani
    MRI Software LLC
                                                                 Chief Executive Officer
    28925 Fountain Pkwy
 19                                                              EMAIL - patrick.ghilani@mrisoftware.com                         Trade Payable                                                                                     $            196,867
    Solon, OH 44139
                                                                 PHONE - (215) 889-0662
    United States
                                                                 FAX -
                                                                 Tom Ritman
    Gilliatte General Contractors, Inc.
                                                                 President
    2515 Bloyd Avenue
 20                                                              EMAIL - dalexander@gilliatte.com                                Trade Payable                                                                                     $            196,850
    Indianapolis, IN 46218
                                                                 PHONE - (317) 638-3355
    United States
                                                                 FAX - (317) 634-5997
                                                                 Mike Arasin
    Fulcrum Construction LLC
                                                                 Founder and President
    1945 The Exchange Suite 400
 21                                                              EMAIL - marasin@fulcrumconstruction.com                         Trade Payable                                                                                     $            185,826
    Atlanta, GA 30339
                                                                 PHONE - (770) 971-6080
    United States
                                                                 FAX - (770) 612-8115
    Skylight Solutions LLC                                       Craig DeSha
    321 N. Kentucky Avenue                                       Chief Executive Officer
 22 Suite 8                                                      EMAIL - craig@skylightsolutions.net                             Trade Payable                                                                                     $            108,000
    Lakeland, FL 33801                                           PHONE - (863) 688-6595
    United States                                                FAX -
    Collins Building Services, Inc.                              Boris Gonzalez
    24-01 44th Road                                              Director of Operations Planning and Analytics
 23 15th Floor                                                   EMAIL -                                                         Trade Payable                                                                                     $            100,307
    Long Island City, NY 11101                                   PHONE - (212) 896-5146
    United States                                                FAX - (212) 896-5120
                                                                 Jason Reich
    Arrow Stripe Co.
                                                                 President
    20085 Fairway Court
 24                                                              EMAIL - arrowstripe@sbcglobal.net                               Trade Payable                                                                                     $             99,950
    Woodbridge, CA 95258
                                                                 PHONE - (209) 662-0090
    United States
                                                                 FAX -
                                                                 Jesse Skluzacek
    Aid Electric Corporation
                                                                 Vice President
    1622 93rd Lane NE
 25                                                              EMAIL - jesse@aidelectriccorp.com                               Trade Payable                                                                                     $             90,764
    Blaine, MN 55449
                                                                 PHONE - (763) 571-7267
    United States
                                                                 FAX -




Official Form 204                                                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                                                Page 2
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Debtor: Washington Prime Group Inc. et al.                                                                                                                                     Case number (if known)_____________________________________




                                                                                                                                                                                                                   Amount of unsecured claim
                                                                                                                                                                                                  if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                                                                     amount. If claim is partially secured, fill in total claim
                                                                                                                                                                                                  amount and deduction for value of collateral or setoff to
                                                                                                                                     Nature of the claim (for
                                                                                                                                                                        Indicate if claim is                        calculate unsecured claim.
      Name of creditor and complete mailing address, including       Name, telephone number, and email address of creditor         example, trade debts, bank
                                                                                                                                                                   contingent, unliquidated, or
                             zip code                                                     contact                                  loans, professional services,
                                                                                                                                                                             disputed
                                                                                                                                    and government contracts)
                                                                                                                                                                                                                        Deduction for
                                                                                                                                                                                                    Total claim, if
                                                                                                                                                                                                                      value of collateral    Unsecured Claim
                                                                                                                                                                                                  partially secured
                                                                                                                                                                                                                          or setoff

    Nelco Architecture Inc.                                        Rick LeBlanc
    2 Burlington Woods Dr                                          President and Chief Executive Officer
 26 Fl. 3                                                          EMAIL - rleblanc@nelcoworldwide.com                                     Trade Payable                                                                                    $             89,364
    Burlington, MA 01803                                           PHONE - (215) 825-7944
    United States                                                  FAX - (781) 932-8647
                                                                   Danielle Westerhoff
    Emma Inc.
    Dept CH 19190
 27                                                                EMAIL - dwesterhoff@campaignmonitor.com                                 Trade Payable                                                                                    $             85,092
    Palatine, IL 60055-9190
                                                                   PHONE - (888) 493-2525
    United States
                                                                   FAX -
                                                                   Douglas L. Peterson
    S&P Global Ratings
                                                                   Chief Executive Officer
    55 Water Street
 28                                                                EMAIL - douglas.l.peterson@gmail.com                                    Trade Payable                                                                                    $             82,000
    New York City, NY 10041
                                                                   PHONE - (212) 438-1000
    United States
                                                                   FAX -
    Moody's Investors Service                                      Rob Fauber
    250 Greenwich Street                                           Chief Executive Officer
 29 7 World Trade Center                                           EMAIL - robert.fauber@moodys.com                                        Trade Payable                                                                                    $             80,000
    New York City, NY 10007                                        PHONE - (212) 553-3895
    United States                                                  FAX - (212) 553-4700
                                                                   Erik Brown
    Brown Electric Inc.
    70 Industrial Park Drive
 30                                                                EMAIL -                                                                 Trade Payable                                                                                    $             76,471
    Waldorf, MD 20602
                                                                   PHONE - (301) 899-3220
    United States
                                                                   FAX - (301) 899-1701

Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities are invoiced.




Official Form 204                                                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                                                       Page 3
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    Fill in this information to identify the case and this filing:

   Debtor Name          Washington Prime Group Inc.

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other documents that require a declaration List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                       06/13/2021                                 /s/ Mark E. Yale
                                       MM/DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                 Mark E. Yale
                                                                                 Printed name
                                                                                 Executive Vice President and Chief Financial Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                  RESOLUTION OF THE BOARD OF DIRECTORS
                                     OF WASHINGTON PRIME GROUP INC.

                                                             June 13, 2021

              The undersigned, being all of the members of the Board of Directors (the “Board”) of
         Washington Prime Group Inc., an Indiana corporation (the “Corporation” or “WPG”), including all
         of the independent members of the Board, acting by written consent in lieu of a meeting, pursuant to
         the Amended and Restated Bylaws of the Corporation and Section 23-1-34-2, as amended, of the
         Indiana Business Corporation Law, do hereby adopt the following resolutions:

            Restructuring Support Agreement

              WHEREAS, the Corporation is party to that certain restructuring support agreement (the
         “RSA”) dated as of June 11, 2021, by and among the Corporation and its affiliates listed on Exhibit A
         hereto (collectively, the “Company Parties”), the Consenting 2018 Credit Facility Lenders, the
         Consenting 2015 Credit Facility Lenders, the Consenting Weberstown Lenders, and the Consenting
         Unsecured Noteholders (each, as defined in the RSA), including, without limitation, those
         transactions set forth on the term sheet attached thereto, which RSA documents the support of those
         consenting parties for a comprehensive restructuring of the Corporation’s capital structure on the
         terms set forth therein.

             NOW, THEREFORE, BE IT RESOLVED, that the Board hereby adopts the resolutions
         below.

              RESOLVED, that, in the judgment of the Board, it is desirable and in the best interests of the
         Corporation (including a consideration of its creditors and other parties in interest) to have entered
         into the RSA, and that the Company Parties’ performance of obligations under the RSA and all
         exhibits, schedules, attachments, and ancillary documents or agreements related thereto, hereby is, in
         all respects approved and ratified with the same force and effect as if each such act, transaction,
         agreement, or certificate has been specifically authorized in advance by the Board.

            Chapter 11 Filing

              WHEREAS, the Board has considered presentations by the management and the financial and
         legal advisors of the Corporation regarding the liabilities and liquidity situation of the Corporation,
         the strategic alternatives available to it, and the effect of the foregoing on the Corporation’s business.

              WHEREAS, the Board has had the opportunity to consult with the management and the
         financial and legal advisors of the Corporation and to fully consider each of the strategic alternatives
         available to the Corporation.

             NOW, THEREFORE, BE IT RESOLVED, that the Board hereby adopts the resolutions
         below.

               RESOLVED FURTHER, that, in the judgment of the Board, it is desirable and in the best
         interests of the Corporation (including a consideration of its creditors and other parties in interest)
         that the Corporation and each of the Company Parties hereto shall be, and hereby is, authorized to
         file, or cause to be filed, a voluntary petition for relief (the “Chapter 11 Cases”) under the provisions
         of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”),
         in the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”)
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         and any other petition for relief or recognition or other order that may be desirable under applicable
         law in the United States.

             RESOLVED FURTHER, that the Corporation’s Chief Executive Officer, Chief Financial
         Officer, and any Executive Vice President or Senior Vice President (the “Authorized Officers”), and
         each of them, be and hereby are, authorized and directed to execute and file on behalf of the
         Corporation all petitions, schedules, lists, and other motions, papers, or documents, and to take any
         and all action that they deem necessary or proper to obtain such relief, including, without limitation,
         any action necessary to maintain the ordinary course operation of the Corporation’s business, in the
         name and on behalf of the Corporation and its subsidiaries.

            Retention of Professionals

              RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
         authorized and directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis
         International LLP (together, “Kirkland”) as general bankruptcy counsel to represent and assist the
         Corporation in carrying out its duties under the Bankruptcy Code, and to take any and all actions to
         advance the Corporation’s rights and obligations, including filing any motions, objections, replies,
         applications, or pleadings; and in connection therewith, each of the Authorized Officers, with power
         of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
         appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
         services of Kirkland.

              RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
         authorized and directed to employ the law firm of Jackson Walker L.L.P. (“Jackson Walker”) as local
         bankruptcy counsel to represent and assist the Corporation in carrying out its duties under the
         Bankruptcy Code, and to take any and all actions to advance the Corporation’s rights and obligations,
         including filing any motions, objections, replies, applications, or pleadings; and in connection
         therewith, each of the Authorized Officers, with power of delegation, is hereby authorized and
         directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
         filed an appropriate application for authority to retain the services of Jackson Walker.

              RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
         authorized and directed to employ the firm Guggenheim Securities, LLC (“Guggenheim Securities”),
         as investment banker to represent and assist the Corporation in carrying out its duties under the
         Bankruptcy Code, and to take any and all actions to advance the Corporation’s rights and obligations;
         and in connection therewith, each of the Authorized Officers, with power of delegation, is hereby
         authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
         to cause to be filed an appropriate application for authority to retain the services of Guggenheim
         Securities.

              RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
         authorized and directed to employ the firm Alvarez and Marsal L.L.C. (“A&M”), as financial advisor
         to represent and assist the Corporation in carrying out its duties under the Bankruptcy Code, and to
         take any and all actions to advance the Corporation’s rights and obligations; and in connection
         therewith, each of the Authorized Officers, with power of delegation, is hereby authorized and
         directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
         filed an appropriate application for authority to retain the services of A&M.


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                                     (Resolutions for Chapter 11 Filing, DIP Financing – June 2021)
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              RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
         authorized and directed to employ the firm of Ernst & Young LLP (“Ernst & Young”) as audit
         services provider to represent and assist the Corporation in carrying out its duties under the
         Bankruptcy Code, and to take any and all actions to advance the Corporation’s rights and obligations;
         and in connection therewith, each of the Authorized Officers, with power of delegation, is hereby
         authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
         to cause to be filed an appropriate application for authority to retain the services of Ernst & Young.

              RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
         authorized and directed to employ the firm of Deloitte Tax LLP (“Deloitte”) as tax services provider
         to represent and assist the Corporation in carrying out its duties under the Bankruptcy Code, and to
         take any and all actions to advance the Corporation’s rights and obligations; and in connection
         therewith, each of the Authorized Officers, with power of delegation, is hereby authorized and
         directed to execute an appropriate retention agreements, pay appropriate retainers, and to cause to be
         filed an appropriate application for authority to retain the services of Deloitte.

              RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
         authorized and directed to employ the firm of Prime Clerk LLC (“Prime Clerk”) as notice and claims
         agent to represent and assist the Corporation in carrying out its duties under the Bankruptcy Code,
         and to take any and all actions to advance the Corporation’s rights and obligations; and in connection
         therewith, each of the Authorized Officers, with power of delegation, is hereby authorized and
         directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
         filed appropriate applications for authority to retain the services of Prime Clerk.

              RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
         authorized and directed to employ any other professionals to assist the Corporation in carrying out its
         duties under the Bankruptcy Code; and in connection therewith, each of the Authorized Signatories,
         with power of delegation, is hereby authorized and directed to execute appropriate retention
         agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application for
         authority to retain the services of any other professionals as necessary.

              RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are, with
         power of delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
         motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ and
         retain all assistance by legal counsel, accountants, financial advisors, and other professionals and to
         take and perform any and all further acts and deeds that each of the Authorized Officers deem
         necessary, proper, or desirable in connection with the Chapter 11 Cases, with a view to the successful
         prosecution of such case.

            Prepetition and DIP Collateral and Debtor-in-Possession Financing

              WHEREAS, the Corporation will obtain benefits from the use of collateral which is security for
         certain prepetition secured lenders (collectively, the “Secured Lenders”) party to:

                     (a)     that certain Amended and Restated Revolving Credit and Term Loan Agreement,
                             dated as of January 22, 2018 (as amended by that certain Amendment No. 1 to
                             Amended and Restated Revolving Credit and Term Loan Agreement, dated as of
                             August 13, 2020, and as further amended, restated, amended and restated,
                             supplemented, or otherwise modified prior to the date hereof, the “2018 Credit
                                                               Page 3 of 8
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                             Agreement”), by and among WPG LP, the direct and indirect subsidiaries of the
                             Corporation identified on Exhibit B hereto as guarantors (the “Guarantors”), the
                             lenders party from time to time thereto, and Bank of America, N.A, as agent (and
                             any successor agent);

                     (b)     that certain Term Loan Credit Agreement, dated as of December 10, 2015 (as
                             amended by that certain Amendment No. 1 to Term Loan Agreement, dated as of
                             January 22, 2018, as amended by that certain Amendment No. 2 to Term Loan
                             Credit Agreement, dated as of August 13, 2020, and as further amended, restated,
                             amended and restated, supplemented, or otherwise modified prior to the date
                             hereof, the “2015 Credit Agreement”), by and among WPG LP, the Guarantors, the
                             lenders party from time to time party thereto, and GLAS USA LLC and Americas
                             LLC (collectively, “GLAS”), as agent; and

                     (c)     that certain Senior Secured Term Loan Agreement, dated as of June 8, 2016 (as
                             amended by that certain First Amendment and waiver to Senior Secured Term Loan
                             Agreement, dated as of December 23, 2016, as amended by that certain Second
                             Amendment and Waiver to Senior Secured Term Loan Agreement, dated as of
                             April 10, 2018, as amended by that certain Third Amendment to Senior Secured
                             Term Loan Agreement, dated as of August 13, 2020, and as further amended,
                             restated, amended and restated, supplemented or otherwise modified prior to the
                             date hereof, the “Weberstown Term Loan Facility Agreement”), by and among
                             WPG LP, WTM Stockton, LLC, the lenders party from time to time thereto, and
                             GLAS, as agent.
              WHEREAS, after a marketing process and negotiations with its stakeholders, the Corporation
         has negotiated with the lenders from time to time party thereto to provide a superpriority debtor-in-
         possession delayed draw term loan facility in an amount up to $100 million to the Companies
         (the “DIP Facility”), which would be used to fund the Corporation’s operations in the ordinary course,
         fund the administration of the Chapter 11 Cases (as defined herein), and pay the claims of certain
         vendors, employees, tenants, and other stakeholders in the ordinary course of business during the
         Chapter 11 Cases.

              WHEREAS, the Board has reviewed and considered presentations by the management and the
         financial and legal advisors of the Corporation regarding the DIP Facility.

              WHEREAS, the members of the Board have been advised of the material terms of that certain
         Superpriority Debtor-in-Possession Delayed Draw Term Loan Credit Agreement, dated as of, or
         about, the date hereof, by and among Washington Prime Group L.P. (“WPG LP”), as borrower,
         (the “Borrower”) and all other direct and indirect subsidiaries of the Borrower that are debtors and
         debtors in possession, as guarantors, the lenders party thereto from time to time (collectively, the
         “DIP Lenders”), and GLAS USA LLC, as administrative agent and GLAS AMERICAS LLC, as
         collateral agent (and, together with GLAS USA LLC, as administrative agent, the “DIP Agent”) (with
         such changes, additions, deletions, amendments, or other modifications thereto as each Authorized
         Officer (as defined below) may in their sole and absolute discretion approve (together with all
         exhibits, schedules, and annexes thereto, the “DIP Credit Agreement”)).

              WHEREAS, the obligation of the DIP Lenders to make the extensions of credit to the Borrower
         is subject to, among other things, the Corporation entering into the DIP Credit Agreement or
         satisfying certain conditions in the DIP Credit Agreement, as applicable.
                                                               Page 4 of 8
                                     (Resolutions for Chapter 11 Filing, DIP Financing – June 2021)
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              WHEREAS, the Corporation will obtain benefits from the DIP Credit Agreement and it is
         advisable and in the best interests of the Corporation to enter into the DIP Credit Agreement and each
         other Loan Document (as defined in the DIP Credit Agreement) and to perform their obligations
         thereunder, including granting liens, guarantees, and equity pledges.

             NOW, THEREFORE, BE IT RESOLVED, that the Board hereby adopts the resolutions
         below.

              RESOLVED FURTHER, that the form, terms, and provisions of the DIP Credit Agreement,
         and the transactions contemplated by the DIP Credit Agreement (including, without limitation, the
         borrowings thereunder), the transactions contemplated therein, and the guaranties, liabilities,
         obligations, and guarantees, liens, and equity pledges granted, if any, in connection therewith, be, and
         hereby are, authorized, adopted and approved.

              RESOLVED FURTHER, that, in the judgment of the Board, it is desirable and in the best
         interests of the Corporation (including a consideration of its creditors and other parties in interest) to
         finalize, execute, and deliver the DIP Credit Agreement and each other Loan Document, subject to
         appropriate modifications and final negotiations, and the Corporation’s performance of its obligations
         thereunder, including granting liens, guarantees, and equity pledges.

               RESOLVED FURTHER, that the Corporation’s execution and delivery of, and its performance
         of its obligations (including guarantees) in connection with the DIP Credit Agreement, are hereby, in
         all respects, authorized and approved; and further resolved, that each of the Authorized Officers,
         acting alone or with one or more Authorized Officers, is hereby authorized, empowered, and directed
         to negotiate the terms of and to execute, deliver, and perform under the DIP Credit Agreement and
         any and all other documents, certificates, instruments, agreements, intercreditor agreements, any such
         changes therein, additions, deletions, amendments, or other modifications thereto required to
         consummate the transactions contemplated by the DIP Credit Agreement in the name and on behalf
         of the Corporation, in the form approved, with such changes therein and modifications and
         amendments thereto as any of the Authorized Officers may in their sole and absolute discretion
         approve, which approval shall be conclusively evidenced by his or her execution thereof. Such
         execution by any of the Authorized Officers is hereby authorized to be by facsimile, engraved or
         printed as deemed necessary and preferable.

              RESOLVED FURTHER, that each of the Authorized Officers, acting alone or with one or
         more Authorized Officers, be, and hereby is, authorized and directed to seek authorization to enter
         into the DIP Credit Agreement and to seek approval of the use of collateral pursuant to a postpetition
         financing order in interim and final form with such changes therein, additions, deletions,
         amendments, or other modifications thereto as any Authorized Officer may in their sole and absolute
         discretion approve (collectively, the “DIP Financing Orders”), and any Authorized Officer be, and
         hereby is, authorized, empowered, and directed to negotiate, execute, and deliver any and all
         agreements, instruments, or documents, by or on behalf of each Company, necessary to implement
         the postpetition financing, including providing for adequate protection to the Secured Lenders in
         accordance with section 363 of the Bankruptcy Code, as well as any additional or further agreements
         for entry into the DIP Credit Agreement and the use of collateral in connection with the Chapter 11
         Cases, which agreements may require the Prepetition Grantors (as defined in the DIP Financing
         Orders) to grant adequate protection and liens to the Secured Lenders and each other agreement,
         instrument, or document to be executed and delivered in connection therewith, by or on behalf of
         each Prepetition Grantor pursuant thereto or in connection therewith, all with such changes therein
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         and additions thereto as any Authorized Officer approves, such approval to be conclusively evidenced
         by the taking of such action or by the execution and delivery thereof.

              RESOLVED FURTHER, that (i) the form, terms, and provisions of the DIP Credit Agreement
         and all other Loan Documents to which the Corporation is party thereto, (ii) the grant as collateral
         under the Loan Documents of (a) liens on the Principal DIP Grantors’ (as defined in the DIP
         Financing Orders) Principal DIP Collateral Properties set forth on Schedule A to the DIP Financing
         Orders and (b) pledges of the Principal DIP Pledged Equity (as defined in the DIP Financing Orders)
         as listed on Schedule B to the DIP Financing Orders, (iii) the guaranty of obligations by the
         DIP Guarantors (as defined in the DIP Financing Orders) under the Loan Documents, from which the
         Corporation will derive value, be and hereby are, authorized, adopted, and approved, and (iv) any
         Authorized Officer or other officer of the Corporation is hereby authorized, empowered, and directed,
         in the name of and on behalf of the Corporation, to take such actions and negotiate or cause to be
         prepared and negotiated and to execute, deliver, perform, and cause the performance of, each of the
         transactions contemplated by the DIP Credit Agreement, substantially in the form provided to the
         Board, the Loan Documents and such other agreements, certificates, instruments, receipts, petitions,
         motions, or other papers or documents to which the Corporation is or will be a party or any order
         entered into in connection with the Chapter 11 Cases (collectively with the DIP Credit Agreement,
         the “Financing Documents”), incur and pay or cause to be paid all related fees and expenses, with
         such changes, additions and modifications thereto as an Authorized Officer executing the same shall
         approve.

             RESOLVED FURTHER, that the Corporation, as debtor and debtor-in-possession under the
         Bankruptcy Code be, and hereby is, authorized and directed to incur any and all obligations and to
         undertake any and all related transactions on substantially the same terms as contemplated under the
         Financing Documents (collectively, the “Financing Transactions”), including granting liens,
         guarantees, and providing equity pledges to secure such obligations.

              RESOLVED FURTHER, that each of the Authorized Officers be, and hereby are, authorized
         and directed to take such actions as in its discretion is determined to be necessary, desirable, or
         appropriate to execute, deliver, and file: (i) the Financing Documents and such agreements,
         certificates, instruments, guaranties, notices, and any and all other documents, including, without
         limitation, any amendments, supplements, modifications, renewals, replacements, consolidations,
         substitutions, and extensions of any Financing Documents, necessary, desirable, or appropriate to
         facilitate the Financing Transactions; (ii) all petitions, schedules, lists, and other motions, papers, or
         documents, which shall in its sole judgment be necessary, proper, or advisable, which determination
         shall be conclusively evidenced by his/her or their execution thereof; (iii) such other instruments,
         certificates, notices, assignments, and documents as may be reasonably requested by the DIP Agent
         and other parties in interest; and (iv) such forms of officer’s certificates and compliance certificates
         as may be required by the Financing Documents.

              RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is, authorized
         and directed to file or to authorize the DIP Agent to file any real estate filings and recordings, and
         any necessary assignments for security or other documents in the name of the Corporation, in each
         case pursuant to the DIP Financing Orders.

             RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is, authorized
         and directed to take all such further actions, including, without limitation, to pay or approve the
         payment of all fees and expenses payable in connection with the Financing Transactions and all fees
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         and expenses incurred by or on behalf of each Company in connection with the foregoing resolutions,
         in accordance with the terms of the Financing Documents, which shall in their reasonable business
         judgment be necessary, proper, or advisable to perform the Corporation’s obligations under or in
         connection with the Financing Documents or any of the Financing Transactions and to fully carry out
         the intent of the foregoing resolutions.

              RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is, authorized
         and directed to execute and deliver any amendments, supplements, modifications, renewals,
         replacements, consolidations, substitutions, and extensions of the postpetition financing or any of the
         Financing Documents or to do such other things which shall in their sole judgment be necessary,
         desirable, proper, or advisable to give effect to the foregoing resolutions, which determination shall
         be conclusively evidenced by his/her or their execution thereof.

             NOW, THEREFORE, BE IT RESOLVED, that the Board hereby adopts the resolutions
         below.

            Backstop Commitment Agreement

             WHEREAS, the Corporation has negotiated and entered into a backstop commitment
         agreement, dated on or about the date hereof, in the form or substantially in the form submitted to the
         Board (the “Backstop Commitment Agreement”), which authorizes the Corporation to issue new
         common stock pursuant to the terms set forth therein.

              WHEREAS, the Corporation will obtain benefits from the Backstop Commitment Agreement
         and it is advisable and in the best interests of the Corporation to enter into the Backstop Commitment
         Agreement and to perform its obligations thereunder.

             NOW, THEREFORE, BE IT RESOLVED, that the Board hereby adopts the resolutions
         below.

              RESOLVED FURTHER, that the form, terms, and provisions of the Backstop Commitment
         Agreement, and the transactions contemplated by the Backstop Commitment Agreement (including,
         without limitation, the issuance of stock thereunder), and all other exhibits, schedules, attachments,
         and ancillary documents or agreements related thereto, if any, in connection therewith, be, and hereby
         are, authorized, adopted and approved.

              RESOLVED FURTHER, that, in the judgment of the Board, it is desirable and in the best
         interests of the Corporation (including a consideration of its creditors and other parties in interest) to
         finalize, execute, and deliver the Backstop Commitment Agreement and all other exhibits, schedules,
         attachments, and ancillary documents or agreements, subject to appropriate modifications and final
         negotiations, and the Corporation’s performance of its obligations thereunder.

            General

              RESOLVED FURTHER, that, in addition to the specific authorizations heretofore conferred
         upon the Authorized Signatories, each of the Authorized Officers be, and hereby is, authorized and
         directed to do and perform all such other acts, deeds and things and to make, negotiate, execute,
         deliver and file, or cause to be made, negotiated, executed, delivered and filed, all such agreements,
         undertakings, documents, plans, instruments, certificates, registrations, notices or statements as such
         Authorized Officer may deem necessary or advisable to effectuate or carry out fully the purpose of
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         the foregoing resolutions, and that any and all actions taken heretofore and hereafter to accomplish
         such purposes, all or singular, be, and they hereby are, approved, ratified and confirmed.

              RESOLVED FURTHER, that the Board has received sufficient notice of the actions and
         transactions relating to the matters contemplated by the foregoing resolutions, as may be required by
         the organizational documents the Corporation, or hereby waive any right to have received such notice.

              RESOLVED FURTHER, that this written consent may be executed in one or more
         counterparts, each of which shall be deemed an original, but all of which together will constitute one
         and the same instrument, and that this written consent may be delivered via facsimile or electronic
         transmission with the same force and effect as if it had been delivered manually.

              RESOLVED FURTHER, that any acts of the Authorized Officers, which acts would have been
         authorized pursuant to the foregoing resolutions except that such acts were taken prior to the adoption
         of such resolutions, are hereby severally ratified, confirmed, approved as authorized acts by executive
         officers on behalf of the Corporation.

              RESOLVED FURTHER, that any Authorized Officer may take any action or execute any
         document as such Authorized Officer may deem to be necessary or advisable, the taking of such
         action or the execution of such document by any such Authorized Officer shall be conclusive
         evidence that such Authorized Officer deems such action or the execution and delivery of such
         document to be necessary or advisable and to be conclusive evidence that the same is within the
         authority conferred by this resolution and the foregoing resolutions.




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            IN WITNESS WHEREOF, the undersigned have executed this written consent as of the date
            first set forth above.



          ___________________________________                ____________________________________
          Robert J. Laikin, Board Chairman                   J. Taggart Birge



          ____________________________________               ____________________________________
          Sheryl G. von Blucher                              John F. Levy



           ______________________________________            ______________________________________
           John J. Dillon                                    Louis G. Conforti
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            IN WITNESS WHEREOF, the undersigned have executed this written consent as of the date
            first set forth above.



          ___________________________________                ____________________________________
          Robert J. Laikin, Board Chairman                   J. Taggart Birge



          ____________________________________               ____________________________________
          Sheryl G. von Blucher                              John F. Levy



          ______________________________________             ______________________________________
          John J. Dillon                                     Louis G. Conforti
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                                                             EXHIBIT A

            WASHINGTON PRIME GROUP INC.,                          DOWNEAST LLC, a Delaware limited
            an Indiana corporation                                liability company

            WASHINGTON PRIME GROUP, L.P.,                         EDISON MALL, LLC, an Indiana limited
            an Indiana limited partnership                        liability company

            BLOOMINGDALE COURT, LLC, a                            EMPIRE EAST, LLC, a Delaware limited
            Delaware limited liability company                    liability company

            BOWIE MALL COMPANY, LLC, a                            FAIRFAX COURT CENTER LLC, a
            Delaware limited liability company                    Delaware limited liability company

            BOYNTON BEACH MALL, LLC, an                           FAIRFIELD TOWN CENTER, LLC, an
            Indiana limited liability company                     Indiana limited liability company

            C.C. ALTAMONTE JOINT VENTURE,                         FAIRFIELD VILLAGE, LLC, a Delaware
            an Indiana general partnership                        limited liability company

            C.C. OCALA JOINT VENTURE, an                          GAITWAY PLAZA, LLC, a Delaware
            Indiana general partnership                           limited liability company

            C.C. WESTLAND JOINT VENTURE, an                       GREENWOOD PLUS CENTER, LLC,
            Indiana general partnership                           an Indiana limited liability company

            CHAUTAUQUA MALL, LLC, an Indiana                      JEFFERSON VALLEY CENTER LLC,
            limited liability company                             an Indiana limited liability company

            CHESAPEAKE CENTER, LLC, an                            KEYSTONE SHOPPES, LLC, an Indiana
            Indiana limited liability company                     limited liability company

            CHESAPEAKE THEATER, LLC, a                            KI-HENDERSON SQUARE
            Delaware limited liability company                    ASSOCIATES, LLC, a Pennsylvania
                                                                  limited liability company
            CLAY TERRACE PARTNERS, LLC, a
            Delaware limited liability company                    KI-HENDERSON SQUARE
                                                                  ASSOCIATES, L.P., a Pennsylvania
            CORAL SPRINGS JOINT VENTURE,                          limited partnership
            an Indiana general partnership
                                                                  KI-WHITEMAK ASSOCIATES, LLC, a
            CT PARTNERS, LLC, an Indiana limited                  Pennsylvania limited liability company
            liability company
                                                                  LAKEVIEW PLAZA (ORLAND), LLC, a
            DARE CENTER, LLC, an Indiana limited                  Delaware limited liability company
            liability company
                                                                  LIMA CENTER, LLC, an Indiana limited
            DAYTON MALL III LLC, a Delaware                       liability company
            limited liability company
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            LINCOLN CROSSING, LLC, an Indiana                MORGANTOWN MALL LLC, a
            limited liability company                        Delaware limited liability company

            LINDALE MALL, LLC, a Delaware                    MSA/PSI ALTAMONTE LIMITED
            limited liability company                        PARTNERSHIP, an Indiana limited
                                                             partnership
            MALL AT COTTONWOOD II LLC, a
            Delaware limited liability company               MSA/PSI OCALA LIMITED
                                                             PARTNERSHIP, an Indiana limited
            MALL AT GREAT LAKES, LLC, a                      partnership
            Delaware limited liability company
                                                             NORTHWOODS RAVINE, LLC, a
            MALL AT IRVING, LLC, an Indiana                  Delaware limited liability company
            limited liability company
                                                             NORTHWOODS SHOPPING CENTER,
            MALL AT JEFFERSON VALLEY, LLC,                   LLC, an Indiana limited liability company
            an Indiana limited liability company
                                                             ORANGE PARK MALL, LLC, an Indiana
            MALL AT LAKE PLAZA, LLC, an                      limited liability company
            Indiana limited liability company
                                                             PADDOCK MALL, LLC, an Indiana
            MALL AT LIMA, LLC, an Indiana limited            limited liability company
            liability company
                                                             PLAZA AT BUCKLAND HILLS, LLC, a
            MALL AT LONGVIEW, LLC, an Indiana                Delaware limited liability company
            limited liability company
                                                             PLAZA AT COUNTRYSIDE, LLC, an
            MAPLEWOOD MALL, LLC, an Indiana                  Indiana limited liability company
            limited liability company
                                                             PLAZA AT NORTHWOOD, LLC, an
            MARKLAND FEE OWNER LLC, a                        Indiana limited liability company
            Delaware limited liability company
                                                             PLAZA AT TIPPECANOE, LLC, an
            MARKLAND MALL, LLC, a Delaware                   Indiana limited liability company
            limited liability company
                                                             RICHARDSON SQUARE, LLC,                an
            MARKLAND PLAZA, LLC, an Indiana                  Indiana limited liability company
            limited liability company
                                                             ROCKAWAY TOWN COURT, LLC, an
            MARTINSVILLE PLAZA, LLC, an                      Indiana limited liability company
            Indiana limited liability company
                                                             ROCKAWAY TOWN PLAZA, LLC, an
            MELBOURNE SQUARE, LLC, an                        Indiana limited liability company
            Indiana limited liability company
                                                             ROLLING OAKS MALL, LLC, a
            MFC BEAVERCREEK, LLC, a Delaware                 Delaware limited liability company
            limited liability company
                                                             ROYAL EAGLE PLAZA LLC, a
                                                             Delaware limited liability company
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                                                                 VILLAGES AT MACGREGOR, LLC, an
                                                                 Indiana limited liability company
            ROYAL EAGLE PLAZA II LLC, a
            Delaware limited liability company                   WASHINGTON PLAZA, LLC, an Indiana
                                                                 limited liability company
            SHOPS AT NORTHEAST MALL, LLC,
            an Indiana limited liability company                 WASHINGTON PRIME
                                                                 MANAGEMENT ASSOCIATES, LLC,
            SIMON MV, LLC, a Delaware limited                    an Indiana limited liability company
            liability company
                                                                 WASHINGTON PRIME PROPERTY
            SM MESA MALL, LLC, a Delaware                        LIMITED PARTNERSHIP, a Delaware
            limited liability company                            limited partnership

            SOUTHERN HILLS MALL LLC, a                           WEST TOWN CORNERS, LLC, a
            Delaware limited liability company                   Delaware limited liability company

            SOUTHERN PARK MALL, LLC, an                          WESTSHORE PLAZA II LLC, a
            Indiana limited liability company                    Delaware limited liability company

            ST. CHARLES TOWNE PLAZA, LLC, a                      WHITEMAK ASSOCIATES, a
            Delaware limited liability company                   Pennsylvania limited partnership

            SUNLAND PARK MALL, LLC, an                           WPG MANAGEMENT ASSOCIATES,
            Indiana limited liability company                    INC., an Indiana corporation

            THE OUTLET COLLECTION LLC, a                         WPG NORTHTOWN VENTURE LLC, a
            Delaware limited liability company                   Delaware limited liability company

            TOWN CENTER AT AURORA II LLC,                        WPG ROCKAWAY COMMONS, LLC,
            a Delaware limited liability company                 an Indiana limited liability company

            UNIVERSITY PARK MALL CC, LLC, a                      WPG WESTSHORE, LLC, a Delaware
            Delaware limited liability company                   limited liability company

            UNIVERSITY TOWN PLAZA, LLC, an                       WPG WOLF RANCH, LLC, an Indiana
            Indiana limited liability company                    limited liability company

            VILLAGE PARK PLAZA, LLC,                         a   WTM STOCKTON, LLC, a Delaware
            Delaware limited liability company                   corporation
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                                                                  EXHIBIT B

            WPG WOLF RANCH, LLC, an Indiana                            MALL AT LAKE PLAZA, LLC, an
            limited liability company                                  Indiana limited liability company

            BLOOMINGDALE COURT, LLC, a                                 ORANGE PARK MALL, LLC, an Indiana
            Delaware limited liability company                         limited liability company

            WPG ROCKAWAY COMMONS, LLC,                                 THE OUTLET COLLECTION LLC, a
            an Indiana limited liability company                       Delaware limited liability company

            SHOPS AT NORTHEAST MALL, LLC,                              WPG WESTSHORE, LLC, a Delaware
            an Indiana limited liability company                       limited liability company

            VILLAGE PARK PLAZA, LLC,                          a        PADDOCK MALL, LLC, an Indiana
            Delaware limited liability company                         limited liability company

            PLAZA AT BUCKLAND HILLS, LLC, a                            SM MESA MALL, LLC, a Delaware
            Delaware limited liability company                         limited liability company

            LAKEVIEW PLAZA (ORLAND), LLC, a                            SIMON MV, LLC, a Delaware limited
            Delaware limited liability company                         liability company

            FAIRFIELD TOWN CENTER, LLC, an                             ST. CHARLES TOWNE PLAZA, LLC, a
            Indiana limited liability company                          Delaware limited liability company

            EMPIRE EAST, LLC, a Delaware limited                       CT PARTNERS, LLC, an Indiana limited
            liability company                                          liability company

            PLAZA AT COUNTRYSIDE, LLC, an                              WPG NORTHTOWN VENTURE LLC, a
            Indiana limited liability company                          Delaware limited liability company

            CHESAPEAKE CENTER, LLC,                          an        KI-HENDERSON SQUARE
            Indiana limited liability company                          ASSOCIATES, LLC, a Pennsylvania
                                                                       limited liability company
            RICHARDSON SQUARE, LLC,                          an
            Indiana limited liability company                          KI-HENDERSON SQUARE
                                                                       ASSOCIATES, L.P., a Pennsylvania
            UNIVERSITY PARK MALL CC, LLC, a                            limited partnership
            Delaware limited liability company
                                                                       GREENWOOD PLUS CENTER, LLC,
            KEYSTONE SHOPPES, LLC, an Indiana                          an Indiana limited liability company
            limited liability company
                                                                       MARKLAND PLAZA, LLC, an Indiana
            LINCOLN CROSSING, LLC, an Indiana                          limited liability company
            limited liability company
                                                                       CLAY TERRACE PARTNERS, LLC, a
            PLAZA AT NORTHWOOD, LLC, an                                Delaware limited liability company
            Indiana limited liability company
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            WASHINGTON PRIME PROPERTY                        DOWNEAST LLC, a Delaware limited
            LIMITED PARTNERSHIP, a Delaware                  liability company
            limited partnership
                                                             EDISON MALL, LLC, an Indiana limited
            C.C. OCALA JOINT VENTURE, an                     liability company
            Indiana general partnership
                                                             FAIRFAX COURT CENTER LLC, a
            GAITWAY PLAZA, LLC, a Delaware                   Delaware limited liability company
            limited liability company
                                                             FAIRFIELD VILLAGE, LLC, a Delaware
            C.C. ALTAMONTE JOINT VENTURE,                    limited liability company
            an Indiana general partnership
                                                             MALL AT LIMA, LLC, an Indiana limited
            WEST TOWN CORNERS, LLC, a                        liability company
            Delaware limited liability company
                                                             LIMA CENTER, LLC, an Indiana limited
            BOWIE MALL COMPANY, LLC, a                       liability company
            Delaware limited liability company
                                                             LINDALE MALL, LLC, a Delaware
            MSA/PSI ALTAMONTE LIMITED                        limited liability company
            PARTNERSHIP, an Indiana limited
            partnership                                      MALL AT COTTONWOOD II LLC, a
                                                             Delaware limited liability company
            MSA/PSI OCALA LIMITED
            PARTNERSHIP, an Indiana limited                  MALL AT GREAT LAKES, LLC, a
            partnership                                      Delaware limited liability company

            BOYNTON BEACH MALL, LLC, an                      MALL AT IRVING, LLC, an Indiana
            Indiana limited liability company                limited liability company

            C.C. WESTLAND JOINT VENTURE, an                  MALL AT JEFFERSON VALLEY, LLC,
            Indiana general partnership                      an Indiana limited liability company

            CHAUTAUQUA MALL, LLC, an Indiana                 MALL AT LONGVIEW, LLC, an Indiana
            limited liability company                        limited liability company

            CHESAPEAKE THEATER, LLC, a                       MAPLEWOOD MALL, LLC, an Indiana
            Delaware limited liability company               limited liability company

            CORAL SPRINGS JOINT VENTURE,                     MARKLAND FEE OWNER LLC, a
            an Indiana general partnership                   Delaware limited liability company

            DARE CENTER, LLC, an Indiana limited             MARKLAND MALL, LLC, a Delaware
            liability company                                limited liability company

            DAYTON MALL III LLC, a Delaware                  MARTINSVILLE PLAZA, LLC, an
            limited liability company                        Indiana limited liability company
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                                                             WASHINGTON PRIME
            MELBOURNE SQUARE, LLC, an                        MANAGEMENT ASSOCIATES, LLC,
            Indiana limited liability company                an Indiana limited liability company

            MFC BEAVERCREEK, LLC, a Delaware                 WESTSHORE PLAZA II LLC, a
            limited liability company                        Delaware limited liability company

            MORGANTOWN MALL LLC, a                           WHITEMAK ASSOCIATES, a
            Delaware limited liability company               Pennsylvania limited partnership

            NORTHWOODS RAVINE, LLC, a                        WPG MANAGEMENT ASSOCIATES,
            Delaware limited liability company               INC., an Indiana corporation

            NORTHWOODS SHOPPING CENTER,
            LLC, an Indiana limited liability company

            PLAZA AT TIPPECANOE, LLC, an
            Indiana limited liability company

            ROCKAWAY TOWN COURT, LLC, an
            Indiana limited liability company

            ROCKAWAY TOWN PLAZA, LLC, an
            Indiana limited liability company

            ROLLING OAKS MALL, LLC, a
            Delaware limited liability company

            SOUTHERN HILLS MALL LLC, a
            Delaware limited liability company

            SOUTHERN PARK MALL, LLC, an
            Indiana limited liability company

            SUNLAND PARK MALL, LLC, an
            Indiana limited liability company

            TOWN CENTER AT AURORA II LLC,
            a Delaware limited liability company

            UNIVERSITY TOWN PLAZA, LLC, an
            Indiana limited liability company

            VILLAGES AT MACGREGOR, LLC, an
            Indiana limited liability company

            WASHINGTON PLAZA, LLC, an Indiana
            limited liability company
